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                                                                                   Form 1                                                                                Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        18-05689 MGW                                                              Trustee: (290380)           Stephen L. Meininger
Case Name:          MORENO, CATHERINE L.                                                      Filed (f) or Converted (c): 07/10/18 (f)
                                                                                              §341(a) Meeting Date:       08/09/18
Period Ending:      09/30/18                                                                  Claims Bar Date:            11/12/18

                               1                                           2                         3                          4                  5                     6

                       Asset Description                               Petition/             Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                        Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                                 Remaining Assets

 1       624 CARR 8860 APT 7-301, TRUJILLO ALTO, PR 00976                 80,000.00                       5,000.00                                      0.00              5,000.00

 2       CASH                                                                   20.00                         0.00                                      0.00                    FA

 3       CHECKING ACCT. - ACCT. ENDING IN 6519: BANK OF                        190.00                         0.00                                      0.00                    FA
         A

 4       EC ACCT. ENDING IN 9039: AN SOCAIL SECURITY /                    65,000.00                           0.00                                      0.00                    FA
         SS
 5       (1) BEDROOM SET $150, (1) DINING ROOM SET $25, (                      382.00                         0.00                                      0.00                    FA

 6       DESKTOP COMPUTER - 5 Y/O, PRINTER - 2 Y/O,                            250.00                         0.00                                      0.00                    FA
         LAPTO

 7       WOMEN'S CLOTHING $75                                                   75.00                         0.00                                      0.00                    FA

 8       (1) EARRINGS - GOLD / POOR CONDITION $35, (86) C                       45.00                         0.00                                      0.00                    FA

 9       POTENTIAL 2018 INCOME TAX REFUND: FEDERAL                        Unknown                             0.00                                      0.00                    FA

10       2001 VOLVO V70, 133,000 MILES, VALUE                                  718.00                         0.00                                      0.00                    FA
         DETERMINED
11       (1) CAT - SENTIMENTAL VALUE ONLY                                        0.00                         0.00                                      0.00                    FA

11       Assets         Totals (Excluding unknown values)              $146,680.00                       $5,000.00                                     $0.00             $5,000.00


     Major Activities Affecting Case Closing:
             Application To Employ Attorney For Trustee filed on 8/13/18; Order On Application To Employ Attorney For Trustee entered on 8/13/18; Application To Employ Bk

                                                                                                                                               Printed: 10/23/2018 01:05 PM   V.14.14
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                                                                                  Form 1                                                                               Page: 2

                                                     Individual Estate Property Record and Report
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                                                                       Values           Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

            Global filed on 9/25/18; Amended Applicationo To Employ Bk Global filed on 10/3/18; Order Authorizing Trustee To Employ Bk Global entered on 10/11/18;

    Initial Projected Date Of Final Report (TFR): November 30, 2019                     Current Projected Date Of Final Report (TFR): November 30, 2019




                                                                                                                                             Printed: 10/23/2018 01:05 PM   V.14.14
